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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                         )       Chapter 11
                                               )
ST. MARGARET’S HEALTH-PERU                     )       Case No. 23-11641
and ST. MARGARET’S HEALTH-                     )       (Jointly Administered)
SPRING VALLEY,                                 )
                                               )       Honorable David D. Cleary
                       Debtors.                )
                                               )
                                               )

  ORDER APPROVING RECORDS SERVICE AND STORAGE AGREEMENT WITH
    CARRIEND, LLC AND SHORTENING AND LIMITING NOTICE THEREOF

         THIS CAUSE coming to be heard on the motion (the “Motion”) of St. Margaret’s Health

– Peru and St. Margaret’s Health – Spring Valley, debtors and debtors in possession (collectively,

the “Debtors”), pursuant to section 363(b) of the Bankruptcy Code and Bankruptcy Rules 2002

and 6004, for entry of an order approving the agreement with Cariend, LLC attached as Exhibit A

hereto (the “Agreement”), and limiting and shortening notice thereof; capitalized terms not

defined herein having the meaning ascribed to such terms in the Motion; the Court being satisfied

with the representations in the Motion that the relief requested therein is necessary and is in the

best interests of the Debtors, their estates and their creditors; it appearing that proper and adequate

notice and an opportunity to object have been given and that no other or further notice is necessary;

the Court having considered the Motion and otherwise being fully advised; and it appearing that

there is good cause to grant the relief requested;

         NOW, THEREFORE, IT IS HEREBY ORDERED , ADJUDGED, AND DECREED

THAT:

         1.    The Motion is granted to the extent provided herein.




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       2.      The Agreement is approved, and Debtors are authorized to enter into and perform

under the Agreement.

       3.      Notice of the Motion provided by the Debtors, including service of the Motion upon

the Committee, is found to be sufficient under the circumstances pursuant to Bankruptcy Rules

2002(a)(2), 2002(i), and 6004(a), and no other or further notice is required.

       4.      This order shall take effect immediately upon its entry, notwithstanding the

provisions of Bankruptcy Rule 6004(h).


Dated: May 22, 2024

                                                     ____________________________________
                                                     United States Bankruptcy Judge


This order prepared by:
Henry B. Merens, Esq. (ARDC #6181695)
Steven B. Chaiken, Esq. (ARDC #6272045)
Erich S. Buck, Esq. (ARDC #6274635)
Adelman & Gettleman, Ltd.
53 West Jackson Blvd., Suite 1050
Chicago, Illinois 60604
Tel (312) 435-1050
Fax (312) 435-1059
Counsel for the Debtors




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                     EXHIBIT A
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Cariend, LLC
                                                  SERVICE AND STORAGE AGREEMENT


This Service and Storage Agreement (“Agreement”) entered into this X                        and/or any misrepresentation by the Client. Client shall not at any
day of April 2024 by and between Cariend, LLC (hereinafter referred to                      time store with Cariend any narcotics, controlled substances,
“Cariend”) and St. Margaret’s Health – Peru and St. Margaret’s                              contraband or other illegal materials, any materials considered to
                                                                                            be highly flammable, explosive, toxic, radioactive, nitrate film, film
Health – Spring Valley, hereinafter referred to as “Client”). FOR AND
                                                                                            producing acidic fumes, or any organic material which might
IN CONSIDERATION OF THE MUTUAL TERMS AND COVENANTS
                                                                                            attract vermin or insects or any other materials which are
CONTAINED HEREIN, Cariend agrees to accept for storage and service
                                                                                            otherwise dangerous and/or unsafe to store or handle using
under its records management systems, Client’s materials as
                                                                                            Cariend’ standard procedures and facilities. Materials will be
delineated below and described further in the Scope of Work
                                                                                            accepted for storage only when packaged in a manner acceptable
(hereinafter referred to as “materials”), subject to all of the terms and
                                                                                            to Cariend and when accompanied by a properly executed
conditions contained herein, including those incorporated as
                                                                                            processed form(s) or work order required by Cariend. Cariend
attachments hereto.
                                                                                            reserves the right to open and inspect any materials sent for
                                                                                            storage. Cariend may, at its sole discretion, elect to reject any type
1.   SERVICES AND TERM: Cariend agrees to provide storage for the
                                                                                            or form of material, which it considers unfit, improper or unsafe
     materials and services to Client and third parties pertaining to
                                                                                            for storage.
     Client’s materials all as further described in the scope of work
     document attached hereto and incorporated herein as
                                                                                       4.   RATES: Client agrees to pay Cariend for its storage and services
     Attachment A (“Scope of Work”) and this Agreement. Cariend shall
                                                                                            according to the Scope of Work. Cariend shall be entitled to utilize
     store and service Client’s materials deposited with Cariend or
                                                                                            a third party to provide some or all of the services hereunder. For
     made available to Cariend via a third-party hosted platform and as
                                                                                            all pick-ups Client agrees to provide an unobstructed access route
     more particularly described in paragraph 2 for the term beginning
                                                                                            into its facilities and a legal, cost-free parking area for utilization by
     on the date noted above and terminating on the date all materials
                                                                                            Cariend. Charges for any services not set forth in the Scope of Work
     are either destroyed or returned to Client pursuant to this
                                                                                            will be addressed through Amendments to the Scope of Work and
     Agreement. This Agreement shall supersede any contrary
                                                                                            billed at Cariend’s then-current rates.
     provisions that may be contained in any purchase order issued to
     Cariend by Client.
                                                                                       5.   THIRD-PARTY ACCESS TO MATERIALS: Except as otherwise set
                                                                                            forth in the Scope of Work, Client expressly authorizes Cariend to
2.   DESCRIPTION OF MATERIALS: Materials may include paper
                                                                                            provide copies of the materials to patients or their authorized
     records and documents, digital images and records made available
                                                                                            representatives and any other third parties entitled to receive such
     to Cariend on a hosted platform, microfilms, x-rays, servers and
                                                                                            copies in accordance with applicable law authorizing such access
     any other medium Cariend expressly agrees in writing to accept
                                                                                            (collectively, “Authorized Requestors”). Cariend shall require
     under this Agreement. Material that is unique, fragile, and/or
                                                                                            patients requesting records to complete a release of information
     requires special handling in transport and/or release of
                                                                                            authorization form and provide reasonable proof of identity.
     information must be disclosed by Client prior to executing this
                                                                                            Cariend shall assess fees to third parties for access to the materials
     agreement, so the handling of such Material can be addressed in
                                                                                            in accordance with the Scope of Work and as permitted by
     the Scope of Work. Such Material may include, but not limited to:
                                                                                            applicable law. Cariend will comply with any subpoena or similar
     Pathology material, Mammography films, dental impressions,
                                                                                            requests. Except as set forth below, Client expressly acknowledges
     prosthetic devices. Except as expressly agreed otherwise in writing
                                                                                            and agrees that Cariend will not deliver the original records
     by Cariend, “material” shall not include unique, fragile, or special
                                                                                            embodied in the materials; rather, Cariend will provide Authorized
     handling items as noted above, and Cariend shall assume no
                                                                                            Requestors with either electronic or physical copies of the
     liability for the management or storage of, any other medium not
                                                                                            requested materials. Client acknowledges that certain types of
     expressly listed above, including, without limitation, the following:
                                                                                            materials may not be copied based on the nature of the materials
     magnetic tapes, CDs, DVDs, removable storage devices, external
                                                                                            (unique materials as defined in paragraph 2, such as pathology
     hard drives, laptops, or PCs
                                                                                            blocks and slides, certain types of films or other physical samples),
                                                                                            in which cases the original records will be released to Authorized
3.   OWNERSHIP OF PROPERTY: Client represents and warrants that it
                                                                                            Requestors, and such records are not to be returned to Cariend;
     is the owner or legal custodian of the material free and clear of all
                                                                                            provided, however, Cariend shall require Authorized Requestors to
     liens and security interests and/or has full authority to tender to
                                                                                            complete a form acknowledging and consenting to receipt of such
     Cariend for storage the material in accordance with the terms of
                                                                                            original records. Under no circumstances will Authorized
     this Agreement. Client further represents and warrants that Client
                                                                                            Requestors be permitted to access Cariend’s facilities.
     is solely responsible for compliance with any local, state or federal
     laws or regulations pertaining to public notification requirements
                                                                                       6.   CLIENT ACCESS TO MATERIALS: All access by Client to Cariend
     related to the services being provided hereunder. In addition,
                                                                                            facilities shall be subject to Cariend’s security procedures, which
     Client represents and warrants that it has full authority to order all
                                                                                            may be amended by Cariend from time to time. Cariend shall grant
     services to be provided by Cariend under this Agreement, and it
                                                                                            access to materials or follow the written instructions (which may
     authorizes Cariend to perform these services on Client’s behalf.
                                                                                            include email instructions) of individuals authorized by Client or
     Client shall reimburse Cariend for reasonable expenses incurred as
                                                                                            any other individuals that Cariend reasonably believes under the
     a result of Cariend’s compliance with Client instructions in the
                                                                                            circumstances to be authorized to act on behalf of Client
     event of any dispute of the ownership or disposition of material,
                                                                                            (collectively “Authorized Representatives,” and each, an
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     “Authorized Representative”). Client shall be responsible for                       9.   DESTRUCTION OF MATERIALS: (a) Execution of this agreement
     notification to Cariend of deletions or additions to such list in                        constitutes full authority for Cariend to destroy any/all materials at
     writing utilizing proper Cariend forms and procedures. Client’s                          the end of the term or any incemental retention dates as set forth
     Authorized Representative shall have the right, at reasonable                            in the Scope of Work or as otherwise indicated by Client in writing.
     times and upon reasonable notice during normal business hours,                           No further approvals for destruction will be sought or required.
     to examine its materials. Client represents that the Authorized                          Client releases Cariend from any and all liability to any third party
     Representatives(s) have full authority to order available services                       by reason of the whole or partial destruction of materials
     and to deliver and receive materials. Such order will only be valid                      performed pursuant to Client’s instructions.             (b)   Client
     if given in writing or some form of verified electronic                                  acknowledges that Cariend may dispose of the materials by
     communication. Cariend shall have a reasonable time to comply                            shredding, puncturing, incinerating or any other means that is
     with any request for the delivery of any materials requested by                          generally accepted in the industry for disposing of similar material.
     Provider. Cariend reserves the right to deny access or delivery of                       References herein to “destroy” shall be understood to include all
     materials should the Client be in default of this Agreement. Unless                      such methods of disposal. In accordance with generally accepted
     Cariend receives written notice to the contrary, it shall be                             industry standards and practices, Client acknowledges that Client’s
     authorized to receive materials or deliver materials to or at the                        materials may be commingled with destroyed materials of others
     direction of any Authorized Representative.          For deliveries to                   prior to destruction and that Client’s materials may be recycled
     Client, unless Client instructs Cariend otherwise in writing, Client                     after they are destroyed. (c) Client acknowledges that Client is
     specifically authorizes Cariend to leave materials with the Client                       aware of its obligation properly to dispose of “consumer
     representative who meets the Cariend courier, regardless of                              information” and any other information the disposal of which is
     whether such individual is an Authorized Representative.                                 regulated by any laws or regulations governing disposal of
                                                                                              information, including, without limitation, those commonly known
7.   TRANSPORTATION OF MATERIALS: Client acknowledges that,                                   as “FACTA,” “FERPA”,“GDPR,” “GLBA”,”SOX” “HIPAA” and “HITECH”
     Cariend’s primary business is storing and providing services related                     or similar state, federal and international laws (“Privacy Laws”).
     to materials and that Cariend is not a “common carrier.” Cariend
     shall not be liable for damage to, loss of or destruction of Client
     materials in transit. Cariend shall have no liability, and Client shall             10. COMPLIANCE: Attached hereto as Attachment B is the Business
     bear the risk of loss, for the materials while they are in transit until                Associate Agreement Addendum between Cariend and Client (“BA
     such materials are received and processed at a Cariend facility,                        Agreement Addendum”). Cariend shall endeavor to comply with
     even in the case where Cariend provides assistance to Client in                         the BA Agreement Addendum and all applicable laws that govern
     organizing, preparing for shipment and/or arranging for shipment                        the services provided under this Agreement. In the event Cariend
     of the materials.                                                                       receives a subpoena or written instruction or demand from any
                                                                                             regulatory, legal or judicial authority pertaining to the materials,
8.   ADDRESS AND CHANGE: Any notice required under this                                      Cariend shall provide written notice to Client of such instruction or
     Agreement or required under applicable law shall be sent by                             demand and shall exercise commercially reasonable judgment in
     Cariend to Client or from Client to Cariend at the address shown                        complying with such instruction or demand. In any case, Cariend
     below. Should there be a change to a party’s address, the party                         shall not be liable for any actions taken or not taken in response to
     shall provide written notice of such change to the other party and                      any such instruction or demand until the Chapter 11 Cases close,
     upon acknowledgment by the receiving party of such change; all                          and the obligations of the Business Associate Agreement will
     notices thereafter shall be sent to such new address. For purposes                      survive the closure of the Chapter 11 Cases.
     of any notices under this Agreement, they shall be given as follows:
                                                                                         11. DISPUTE RESOLUTION; GOVERNING LAW: The parties agree that
          As to Client:         St. Margaret’s Health—Peru and                               the exclusive venue for any action against Cariend shall be the
                                St. Margaret’s Health—Spring Valley                          United States Bankruptcy Court for the Northern District of Illinois,
                                Attn: Tim Muntz, President & CEO                             Eastern, Division (the “Bankruptcy Court”), where the Client’s
                                600 East First Street                                        jointly-administered chapter 11 cases are pending, Case No. 23-
                                Spring Valley, IL 61362                                      11641 (the “Chapter 11 Cases”). To the extent it is determined by
                                                                                             final order of the Bankruptcy Court that it lacks jurisdiction to
          With a copy to:       Adelman & Gettleman, Ltd.                                    decide such action, then in such event, the venue for any action
                                Attn: Steven Chaiken and Erich Buck                          against Cariend shall be the state and federal courts located in or
                                53 W. Jackson Blvd., Suite 1050                              closest to Thomas County, Georgia. As a material inducement to
                                Chicago, IL 60604                                            Cariend to enter into this Agreement, the Client hereby WAIVES
                                                                                             ITS RIGHT TO A TRIAL BY JURY and consents to any action arising
          As to Cariend:        For Overnight Delivery:                                      pursuant hereto to be heard by bench trial.
                                Cariend, LLC
                                Attn: Christopher Powell Jones                           12. LIMITATION OF LIABILITY: (a) Client recognizes that Cariend is not
                                105 Baybrook St                                              an insurer of its materials. Client is urged to obtain insurance for
                                Thomasville, GA 31792                                        itself sufficient to protect its interest in such materials should they
                                For U. S. Mail:                                              be lost, damaged, destroyed or otherwise compromised. Cariend
                                Cariend, LLC                                                 is not required to insure materials against loss or injury, however
                                Attn: Christopher Powell Jones                               caused, and Client’s sole remedy for any losses or claims shall be
                                Post Office Box 1866                                         as set forth in this Agreement. Client has been advised and fully
                                Thomasville, GA 31799-1866                                   understands and acknowledges that deterioration and aging of
                                                                                             materials is normal and an unavoidable occurrence anticipated
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    over time. Cariend shall not be liable for any damage to or loss or                    the sale of the material would be impossible, and disposal of Client
    destruction of materials or unauthorized access, however caused,                       materials is the only way for the Company to mitigate its damages.
    unless such loss, damage, destruction or unauthorized access is                        Cariend shall have, and may exercise, all rights granted to a
    solely caused by Cariend’s gross negligence or willful misconduct,                     warehouse by the Uniform Commercial Code as adopted in the
    in which case Cariend’s liability shall be limited by this paragraph                   State of Georgia. In the event Cariend takes any action upon the
    12. This Agreement is entered into subject to any delays, losses or                    default of Client, it shall have no liability to Client, anyone claiming
    damage which may be caused from (i) an act, omission or order of                       through it, or any third party. Cariend possesses a landlord’s lien
    Client; (ii) insects, moths and vermin; (iii) ordinary wear and tear;                  upon Client’s materials for fees and charges hereunder. All
    (iv) defects or inherit vices of the article stored, including                         remedies provided for in this Agreement are cumulative and may,
    susceptibility to damage because of atmospheric conditions such                        at the election of Cariend, be exercised alternately, successively or
    as temperatures and humidity or changes therein; (v) war or                            in any other manner or in addition to any other rights provided by
    hostile war like action in time of peace including insurrection,                       law. Cariend or the Client, as the case may be, shall be entitled to
    terrorism, rebellion, revolution or civil war; (vi) strikes, lockouts,                 collect all reasonable attorneys’ fees and costs incurred by it in
    labor disturbances, riots, civil commotions or the acts of any                         connection with the enforcement of this Agreement.
    person or persons taking part in any such occurrence; or (vii) acts
    of God, nature, viruses, pandemics and similar occurrences and                    14. LIEN: Cariend has a lien on all materials for any amounts due to
    Cariend shall not be liable for any delays or failure to perform                      Cariend from Client hereunder including, but not limited to, any
    caused by or related to any such causes. Client acknowledges that                     other charges, present or in the future in relating to such materials,
    Cariend will be utilizing technology, services, software and                          its movement, preservation, sale or other disposal or disposition
    hardware owned by and/or managed by third parties in connection                       pursuant to the terms of this Agreement. Without limiting the
    with its provision of some of its services. Cariend will endeavor to                  terms above, Cariend shall have a lien on such property to the full
    ensure the reliability and availability of all such third party                       extent authorized under O.C.G.A. Section 11-7-210. No advances
    technology, services, software and hardware; however, Cariend                         have been made or liabilities incurred by Cariend for which it
    will not have any liability for any damages, claims or liabilities                    claims a lien prior to the date of the execution of this Agreement.
    caused by the unavailability of or defects regarding such
    technology, services, software and hardware or any other                          15. EARLY TERMINATION:           Cariend shall have the right,
    damage, claims or other issues attributable to problems or issues                     notwithstanding anything else contained in this Agreement to the
    or caused by such technology, services, software and hardware. IN                     contrary, to terminate the Agreement pursuant to the provisions
    NO EVENT SHALL CARIEND BE LIABLE FOR ANY LOSS OF PROFIT OR                            of O.C.G.A. Section 11-7-206 or for any default as set forth in
    SPECIAL, INDIRECT, INCIDENTAL, PUNITIVE OR CONSEQUENTIAL                              paragraph 13 upon ten (10) days written notice to Client.
    DAMAGES OF ANY KIND, INCLUDING WITHOUT LIMITATION LOST
    PROFITS, LOSS OF USE, DATA/INFORMATION BREACH                                     16. TAX: All charges and fees to be paid to Cariend under this
    NOTIFICATION REQUIREMENTS TO THIRD PARTIES UNDER STATE                                Agreement are exclusive of any applicable taxes required by law to
    AND/OR FEDERAL LAW, LOST DATA/INFORMATION, AND                                        be collected from Client (including withholding, sales, use, excise
    RECONSTRUCTION, REGARDLESS OF THE FORM OF THE CLAIM                                   or services taxes, which may be assessed on the provision of the
    AND REGARDLESS OF WHETHER ANY SUCH DAMAGES WERE                                       storage or services hereunder). If a withholding, sales, use, excise
    FORESEEABLE AND REGARDLESS OF THE CAUSE OF SUCH                                       or services tax is assessed on the provision of any of the storage or
    DAMAGES. CLIENT SHALL CAUSE ITS INSURERS OF MATERIALS TO                              services provided under this Agreement, Client shall pay directly,
    WAIVE ANY RIGHT OF SUBROGATION AGAINST Cariend. This                                  reimburse or indemnify Cariend for such tax. The parties shall
    limitation of liability shall apply irrespective of the cause of loss,                cooperate with each other in determining the extent to which any
    damage or destruction of the stored materials. (b) Client                             tax is due and owing under the circumstances and shall provide
    recognizes and agrees that Cariend’s liability under this Agreement                   and make available to each other any resale certificate,
    for any and all claims shall be limited. Notwithstanding the                          information regarding out-of-state use of materials, services or
    limitations set forth in this paragraph, in no event shall Cariend’s                  sale, and other exemption certificates or information reasonably
    aggregate liability for any and all claims arising under this                         requested by the other party.
    Agreement exceed the aggregate amounts paid by Client under
    this Agreement.                                                                   17. ASSIGNMENT: Client shall have the right to assign this Agreement,
                                                                                          including any Scope(s) of Work and BA Agreement Addendum, and
13. DEFAULT: Should Client or its Assigns fail to pay any sum due                         all of Client’s rights, obligations, title and interest in, to and under
    hereunder in accordance with this Agreement or fail to comply                         this Agreement, to any successor in interest or third party,
    with any terms or provision of this Agreement, or fail to cooperate                   including but not limited to any creditor trustee appointed under
    with Cariend in a manner that substantially hinders Cariend from                      a confirmed plan of liquidation in the Chapter 11 Cases. Cariend
    providing its services under this Agreement, then Client shall be                     shall not have the right to assign this Agreement, or any of its
    deemed in default. Upon default, Cariend may exercise any or all                      rights, title, obligations or interests in, to or under this Agreement,
    of its available remedies, including, without limitation, its lien                    to any third party absent the express written consent of Client or
    rights as set forth in paragraph 14, demand that Client pick up its                   its assignee, as the case may be.
    materials, deliver the materials to the delivery address or if none
    is specified, to the Client address, terminate this Agreement or                  18. SUCCESSORS AND ASSIGNS: This Agreement and the obligations
    exercise any other right it might have under Georgia law. In                          hereunder shall be binding and inure to any successors or assigns
    addition to the above, in the event of default and upon thirty (30)                   of the parties.
    days advance written notice to Client, Cariend may destroy or
    otherwise dispose of the materials. In this regard, Client
    recognizes that, since the material has little or no market value,

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19. CONFIDENTIALITY:       Cariend shall implement and maintain                 instrument signed by each of the parties hereto. The provisions
    reasonable safeguards designed to protect the confidentiality of            provided for herein are deemed to be severable.
    Client’s information and the materials.
                                                                                The undersigned Client acknowledges and agrees that it, by and
20. COMPLETE AGREEMENT:          This Agreement, including the                  through its undersigned representative, has read this Agreement
    attachments referenced herein and attached hereto, embodies                 in its entirety and understands and acknowledges all of the terms
    the entire Agreement and understanding of the parties hereto and            and conditions. Client agrees to be bound by all of said terms and
    supersedes any and all prior written agreements or                          conditions.
    understandings. This Agreement may be modified only by written



    Client:


    _____________________________________________________
    Print Name



    _____________________________________________________                        ____________________________________________
    Signature           Client(Provider)                                                   Date


    _____________________________________________________                        ____________________________________________
    Signature           Client(Provider)




    Cariend
    Post Office Box 1866
    Thomasville, GA 31799-1866


    _____________________________________________________                          ___________________________________________
    By:                                                                              Date




    Attachment: Scope of Work




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Attachment A
 Scope of Work

This Scope of Work (“SOW”) for Custodial Records Services is entered into by and between Cariend,
LLC (“Cariend”) and St. Margaret’s Health – Peru and St. Margaret’s Health – Spring Valley, (“Client”).
This SOW is incorporated into and made part of the Service and Storage Agreement between
Client and Cariend, along with the applicable schedules, exhibits and attachments (collectively,
“Agreement”). Any capitalized terms not defined herein shall have the meaning given to such
terms in the Service and Storage Agreement. This SOW supersedes and terminates any prior SOW
or components thereof between Client and Cariend for the same or similar type of Services
described below.
This SOW is effective as of the date of Client signature below (the “Effective Date”). The term of this
SOW will commence on the Effective Date and continue through April X, 2034 (“Term”).
Pricing contained within this SOW is only valid for acceptance by Client for a period of ninety (90)
calendar days from April X, 2024 unless extended by a revised SOW issued by Cariend or execution
of this Agreement.
The Parties agree as follows:
   1.   Provision of Service.
Commencing on the Effective Date of this SOW, in consideration of Client’s payment of the
applicable fees set forth herein, Cariend shall provide to Client that level and type of Service
purchased by Client, as set forth in Schedule 1. Any variance in the volumes or scope reflected on
Schedule 1 may result in a price adjustment based on the actual new volumes or scope or Services.
Client agrees to pay any price adjustment based on such new volumes or scope.
   2. Services Description.
As set forth in Schedule 1.
   3. Pricing.
3.1    For the entire scope of the Services provided to Client by Cariend under this SOW, Client
agrees to pay 25% of the total SOW amount indicated on Schedule 1 (plus applicable taxes) within
seven (7) days of entry of a final order of the Bankruptcy Court in the Chapter 11 Cases authorizing
Client to enter into the Agreement (the “Court Order”); 25% within 90 days of entry of the Court
Order; 25% within 180 days of entry of the Court Order; and any remaining balance within 270 days
of entry of the Court Order. Any variance to the volume or scope of services listed in this Agreement
will result in an amended Agreement, including applicable changes to the pricing. All fees shall be
invoiced and paid by Client in United States currency.
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Each person signing below represents and warrants that (i) he or she is duly authorized and has
legal capacity to execute and deliver this SOW, (ii) the execution and delivery of this SOW and the
performance of such Party's obligations hereunder have been duly authorized, (iii) this SOW is a
valid and legal agreement binding on such Party and enforceable in accordance with its terms and
conditions, and (iv) this SOW may be delivered by either or both Parties by delivery of scanned
copies of signed signature pages, and will thereupon be legally effective and binding for all
purposes.

Client:
Individual Signing:
                      (print name)
Title:



Signature:
Date:


Authorized Requestor(s);
(optional, in addition to Client above)

Cariend:
Individual Signing:
                      (print name)
Title:



Signature:
Date:



Invoicing information (if different from Client location):

Invoicing Contact:
Mailing Address:




Phone Number:
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Schedule 1
 Service Description and Pricing

   1. Physical records – Cariend will provide all labor and materials to remove and transport all the
      records listed below during a mutually agreed upon one week period. Cariend will assess
      records based on retention guidelines provided by Client, separating medical and business
      records, indexing retained Medical and Employee records at the file-level and non-medical
      records at the box level:
          a. Approximately 5,000 boxes in the Spring Valley warehouse
          b. Approximately 250 boxes of Orthopedic group medical records inside SMH offices
          c. Approximately 80 boxes/plastic containers of pathology specimens, including
              accession information required to locate individual pathology cases
          d. Approximately 320 boxes of Business/Finance records inside SMH offices
          e. Approximately 250 boxes at Cardone Records (release must be obtained first)
          f. Approximately 140 boxes at Iron Mountain (release must be obtained first)
   2. Radiology Records – Cariend will receive DICOM data from Client servers:
          a. Approximately 20 Terabytes in DICOM format
   3. Electronic Medical Records – Cariend will receive exported, unencrypted SQL data and
      external document folders from SMH servers or cloud storage systems. Cariend will convert
      SQL exports to one PDF file (or folder, if multiple files) per-patient. For Meditech data, if
      SQL/External folder data is not available, Cariend can pull directly from individual Meditech
      applications – VPN access to Meditech servers will be required in this approach, and
      additional charges may be incurred from Meditech or third-party vendors to extract the data
      in this scenario. Athena provides complete medical records in PDF format and will not
      require conversion.
          a. Meditech – Expanse, Maestro, and client/server with multiple applications
          b. Athena – Standard PDF export provided by Athena
          c. Fast Track, OBIX, Paragon, HPF, Traceview, Allscripts archive, and legacy EMR data
              currently residing with Ellkay Systems.
   4. Client authorizes Cariend to provide Release of Information (ROI) Services for medical
      records during the Term on behalf of Client. Cariend reserves the right to bill third party
      requestors of medical records, or any requests for non-medical records, subject to and in
      accordance with all federal and state laws, rules and regulations. Client shall indicate
      Authorized User on the signature page of this Agreement for Cariend to coordinate the
      release of non-medical records.
   5. Cariend will store medical records for 10 years past the last service date, and business
      records for 7 years past the indicated year, based on retention information provided by
      Client.
   6. At the end of the retention period indicated by Client, records will be removed from storage
      and securely destroyed. Execution of this Agreement shall constitute full and complete
      authorization of destruction upon completion of the Term or incrementally throughout the
      Term based on retention schedule indicated by Client.
   7. The total projected price for all items listed in this Agreement is $274,080 (plus any
      applicable taxes and subject to revision based on any changes to the volume or scope of
      services.)
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8. Upon execution of this Agreement, Cariend will supply Client with medical records release
   contact information for Client to include in their closing notifications.
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 BUSINESS ASSOCIATE ADDENDUM TO SERVICE AND STORAGE AGREEMENT

                                       (Attachment B)

        THIS BUSINESS ASSOCIATE AGREEMENT ADDENDUM (this “BA Agreement
Addendum”) is entered into by and between Cariend, LLC (“Business Associate”) and St.
Margaret’s Health – Peru and St. Margaret’s Health – Spring Valley, (“Covered Entity”)
(collectively, the “Parties”).

        WHEREAS, Covered Entity is a covered entity, and Business Associate is a business
associate of Covered Entity, as those terms are defined in the Health Insurance Portability and
Accountability Act of 1996, as amended by the Health Information Technology for Economic and
Clinical Health Act, and the regulations promulgated thereunder (collectively “HIPAA”);

        WHEREAS, Covered Entity and Business Associate have entered into that certain [Service
and Storage Agreement], as amended, modified, or restated from time to time (the “Service and
Storage Agreement” or “Agreement”) pursuant to which Business Associate will provide to
Covered Entity and certain third parties certain services (the “Services”) which may require
Business Associate to use and disclose Protected Health Information (“PHI”) on behalf of Covered
Entity; and

     WHEREAS, Business Associate and Covered Entity are committed to complying with
HIPAA.

       NOW, THEREFORE, Business Associate and Covered Entity agree as follows:

1.     Definitions. Capitalized terms used, but not otherwise defined, in this BA Agreement
       Addendum shall have the same meanings as those terms are given in HIPAA.

2.     Obligations and Activities of Business Associate

       2.1.   Limits on use and further disclosure. Business Associate agrees not to use or
              disclose PHI other than as permitted or required by this BA Agreement Addendum
              or the Agreement.

       2.2.   Appropriate safeguards.         Business Associate agrees to use appropriate
              safeguards, and comply with Subpart C of 45 CFR Part 164 with respect to E-PHI,
              to prevent use or disclosure of PHI other than as permitted or required by this BA
              Agreement Addendum.

       2.3.   Reporting Requirements. Business Associate agrees to report to Covered Entity
              any use or disclosure of PHI not provided for by this BA Agreement Addendum of
              which it becomes aware, including Breaches of Unsecured PHI as required by 45
              C.F.R. § 164.410, and any Security Incident of which it becomes aware.

       2.4.   Subcontractors and agents. In accordance with 45 C.F.R. §§ 164.502(e)(1)(ii)
              and 164.308(b)(2), Business Associate agrees to ensure that any Subcontractors that
              create, receive, maintain or transmit PHI on behalf of Business Associate agree to


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            the same restrictions, conditions, and requirements that apply to Business
            Associate with respect to such information

    2.5.    Right of access to PHI. At the request of Covered Entity, Business Associate
            agrees to provide access to PHI maintained in a Designated Record Set to Covered
            Entity to allow Covered Entity to respond to a request under 45 C.F.R. § 164.524
            by an Individual. Such access shall be granted upon request by Covered Entity for
            a specific record or records to be delivered by Business Associate to Covered Entity.
            The delivery of a record or records by Business Associate to Covered Entity under
            this Section shall be subject to all terms of the Storage Agreement, including any
            and all applicable fees.

    2.6.    Amendment of PHI. At the request of Covered Entity, Business Associate agrees
            to make amendments and/or corrections to PHI maintained in a Designated Record
            Set to the extent required by 45 C.F.R. § 164.526. In the event of such a request,
            Covered Entity shall identify the record or records requiring amendment and/or
            correction and Business Associate shall deliver such record or records to Covered
            Entity to allow Covered Entity to make the requested amendments and/or
            corrections. The delivery of a record or records by Business Associate to Covered
            Entity under this Section shall be subject to all terms of the Service and Storage
            Agreement, including any and all applicable fees.

    2.7.    Provide accounting. Business Associate agrees to maintain and make available
            the information required to provide an accounting of disclosures to the Covered
            Entity as necessary to satisfy Covered Entity’s obligations under 45 C.F.R. §
            164.528.

    2.8.    Carrying out Covered Entity’s Obligations. To the extent Business Associate is
            to carry out one or more of Covered Entity’s obligation(s) under Subpart E of 45
            C.F.R. Part 164, Business Associate agrees to comply with the requirements of
            Subpart E that apply to Covered Entity in performance of such obligation(s). It is
            not anticipated that Business Associate will carry out any of Covered Entity’s
            obligations under Subpart E of 45 C.F.R. Part 164 other than as set forth in the
            Agreement.

    2.9.    Access to books and records. Business Associate agrees to make its internal
            practices, books, and records relating to the use, disclosure and maintenance of PHI
            received from, or created or received by Business Associate on behalf of, Covered
            Entity available to the Secretary for purposes of determining compliance with
            HIPAA.

    2.10.   Notification of Breach. During the term of this Agreement, Business Associate
            shall notify the Covered Entity within a reasonable time following the occurrence
            of any breach of security, intrusion or unauthorized use or disclosure of Covered
            Entity's PHI and/or any use or disclosure of Covered Entity's PHI not provided for
            by this Agreement. Business Associate shall notify Covered Entity, within 30
            calendar days, of the discovery of an unauthorized acquisition, access, or disclosure


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               of "unsecured protected health information," as such term is defined in the HIPAA
               Standards. Such notice shall include:

               i.     the identification of each Individual whose Unsecured Protected Health
                      Information has been, or is reasonably believed by Business Associate to
                      have been, accessed, acquired, or disclosed during such Breach;

               ii.    a description of the nature of the Breach including the types of Unsecured
                      Protected Health Information that were involved, the date of the Breach and
                      the date of discovery;

               iii.   a description of the type of Unsecured Protected Health Information
                      acquired, accessed, used or disclosed in the Breach (e.g., full name, social
                      security number, date of birth, etc.);

               iv.    the identity of the person who made and who received (if known) the
                      unauthorized acquisition, access, use or disclosure;

               v.     a description of what the Business Associate is doing to mitigate the
                      damages and protect against future breaches; and

               vi.    any other details necessary for Covered Entity to assess risk of harm to
                      Individual(s), including identification of each Individual whose Unsecured
                      Protected Health Information has been Breached and steps such Individuals
                      should take to protect themselves.

       2.11.   Cyber Insurance. Business Associate shall maintain insurance for network
               security and privacy risk, including but not limited to unauthorized access, failure
               of security, breach of privacy perils, wrongful disclosure, collection, or other
               negligence in the handling of confidential information and privacy perils, including
               coverage for related regulatory defense and penalties, in an amount not less than
               One Million Dollars. The foregoing coverage will include coverage for data breach
               expenses in an amount not less than Two Million Dollars, and payable by Business
               Associate, including, but not limited to consumer notification, whether or not
               required by law, computer forensic investigations, public relations and crisis
               management firm fees, credit or identity monitoring, or remediation services.

3.     Permitted Uses and Disclosures by Business Associate

Except as otherwise limited in this Service and Storage Agreement, Business Associate:

       3.1.    For the specified purposes. May use or disclose PHI as permitted or required by
               the Service and Storage Agreement or this BA Agreement Addendum.

       3.2.    As Required by Law. May use or disclose PHI as Required by Law.




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       3.3.   Prohibited use or disclosure. May not use or disclose protected health information
              in a manner that would violate Subpart E of 45 CFR Part 164 if done by Covered
              Entity, except for the specific uses and disclosures set forth below.

       3.4.   Use for management, administration and legal responsibilities. May use PHI
              for the proper management and administration of Business Associate or to carry out
              the legal responsibilities of Business Associate.

       3.5.   Disclosure for management, administration and legal responsibilities. May
              disclose PHI for the proper management and administration of Business Associate
              or to carry out the legal responsibilities of Business Associate, provided that such
              disclosures are Required by Law or Business Associate obtains reasonable
              assurances from the person to whom the information is disclosed that it will be held
              confidentially and be used or further disclosed only as Required by Law or for the
              purpose for which it was disclosed to the person, and the person notifies Business
              Associate of any instances of which it is aware that the confidentiality of the
              information has been breached.

       3.6.   Data aggregation. May use or disclose PHI to provide data aggregation services
              as permitted by 45 CFR § 164.504(e)(2)(i)(B).

       3.7.   De-identification. May use PHI to create de-identified information provided such
              PHI is de-identified in accordance with 45 C.F.R. § 164.514(b).

4.     Provisions for Covered Entity to Inform Business Associate of Privacy Practices and
       Restrictions

       4.1.   Notice of privacy practices. Covered Entity shall notify Business Associate of
              any limitation(s) in its notice of privacy practices to the extent such limitation may
              affect Business Associate’s use or disclosure of PHI.

       4.2.   Changes in permission. Covered Entity shall notify Business Associate of any
              changes in, or revocation of, permission by an Individual to use or disclose PHI, to
              the extent such changes may affect Business Associate’s use or disclosure of PHI.

       4.3.   Restrictions. Covered Entity shall notify Business Associate of any restriction on
              the use or disclosure of PHI to which Covered Entity has agreed to the extent such
              restriction may affect Business Associate’s use or disclosure of PHI.

5.     Permissible Requests by Covered Entity.

Covered entity shall not request Business Associate to use or disclose PHI in any manner that
would not be permissible under Subpart E of 45 CFR Part 164 if done by Covered Entity, other
than uses and disclosures permitted under Sections 3.4, 3.5, and 3.6 of this BA Agreement.

6.     Term and Termination



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     6.1.   Term. The term of this BA Agreement Addendum shall commence on the effective
            date of the Service and Storage Agreement and continue so long as Business
            Associate continues to provide Services to Covered Entity under the Storage
            Agreement.

     6.2.   Termination for Cause. Upon a material breach of this BA Agreement by either
            party (the “Defaulting Party”), the other party (the “Non-Defaulting Party”) may
            give written notice of such material breach to the Defaulting Party, and if such
            material breach is not cured within 45 days after such written notice is received by
            the Defaulting Party, or such longer period as agreed to by the Parties, then the Non-
            Defaulting Party may immediately terminate this BA Agreement Addendum and
            the Service and Storage Agreement.

     6.3.   Obligations of Business Associate Upon Termination.

            6.3.1. Except as provided in Section 6.3.2 of this BA Agreement and the Storage
                   Agreement, upon termination of this BA Agreement Addendum for any
                   reason, Business Associate shall, as provided for in the Storage Agreement,
                   return to Covered Entity or destroy all PHI received from Covered Entity,
                   or created, maintained, or received by Business Associate on behalf of
                   Covered Entity, that the Business Associate maintains in any form. Business
                   Associate shall retain no copies of PHI. This provision shall also apply to
                   PHI that is in the possession of Subcontractors of Business Associate.

            6.3.2. In the event that returning or destroying PHI is not feasible, Business
                   Associate shall provide to Covered Entity notification of the conditions that
                   make return or destruction not feasible, and extend the protections and
                   requirements of this BA Agreement Addendum and the Parties’ respective
                   rights and obligations hereunder so long as Business Associate maintains
                   such PHI, and Business Associate shall limit further use and disclosure of
                   such PHI to those purposes that make the return or destruction not feasible.

     6.4.   Survival. The respective rights and obligations of Business Associate under this
            Section shall survive the termination of this BA Agreement Addendum.

7.   Miscellaneous

     7.1.   Statutory and regulatory references. A reference in this BA Agreement to a
            statute or regulation means the statute or regulation as in effect or as amended, and
            for which compliance is required.

     7.2.   Amendment. The Parties agree to negotiate in good faith an amendment to this
            BA Agreement Addendum from time to time to enable them to comply with the
            requirements of HIPAA.

     7.3.   Choice of Law. This BA Agreement Addendum shall be governed by the law of
            Illinois without giving effect to its laws, rule or principles governing conflicts of
            laws.

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          7.4.   Binding Nature and Assignment. This BA Agreement Addendum shall be
                 binding on the Parties hereto and their successors and assigns, but neither Party
                 may assign this BA Agreement Addendum without the prior written consent of the
                 other, which consent shall not be unreasonably withheld.

          7.5.   Notices. Any notice required or permitted under this BA Agreement Addendum
                 shall be in writing and may be (a) delivered in person or by email, or (b) be sent by
                 certified mail, return receipt requested, postage prepaid or by overnight mail, to the
                 last known address of the person designated as that Party’s representative under the
                 Storage Agreement, or to such other address as a party may direct by notice in
                 writing from time to time.

          7.6.   Entire Agreement. This BA Agreement Addendum consists of this document and
                 the Service and Storage Agreement with Scope of work constitutes the entire BA
                 Agreement between the Parties. No change, waiver or discharge of obligations
                 arising under this BA Agreement Addendum shall be valid unless in writing and
                 executed by the Party against whom such change, waiver or discharge is sought to
                 be enforced. In the event of conflict between this BA Agreement Addendum and
                 the Service and Storage Agreement, this BA Agreement Addendum shall control to
                 the extent required for compliance with HIPAA; otherwise the Storage Agreement
                 shall control. Notwithstanding anything to the contrary herein, Sections
                 (indemnification) and (limitation of liability) of the Service and Storage Agreement
                 are incorporated in this BA Agreement Addendum, and shall apply to, this BA
                 Agreement Addendum in the same manner as they apply in the Service and Storage
                 Agreement.

Client:                                                 Cariend, LLC
                                                        PO Box 1866
                                                        Thomasville, GA 31799
________________________________                        _______________________________
Print Name and Date                                     Print Name and Date

________________________________                        ________________________________
Signature                                               Signature




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